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    GOVERNANCE
    EXTERNAL
    REGULATION
   Qatar Charity, like all Qatar-based NGOs, operates under the supervision of the
   Regulatory Authority for Charitable Activities in the State of Qatar.

    RAGA is the regulator of charities in the State of Qatar and provides the legal framework that
    regulates the establishment and management of charitable work in the country, in alignment
    with leading international charity regulators' guidelines




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                                   one of the global leading audit firms worldwide, KPMG. The annual
                                   audit is conducted in our head office and across all 30 field offices by
                                   a local external auditor accredited in those countries.




    INTERNAL REGULATION


    Board of Directors




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    Qatar Charity's external and internal work environment is underpinned by a set of

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    adopted by the Board of Directors that provide guidance in all pertinent matters and define a
    clear, ethical, and lawful course of action for any situation affecting directly or indirectly the work
    of the organization.


    The Board of Directors oversee the independent and specialized committees in risk management,
    compliance and audit with clear roles and responsibilities taking into consideration RACA's
    legislations and Qatar Charity's internal regulations. The Board undergoes an annual self-
    evaluation process as stipulated by the Qatar Charity's Board of Directors' Self Evaluation Policy
    and Self-Compensation Policy and Conflict of Interest Policy.




    Risk management




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    Risk management is an essential part of Qatar Charity's governance system. It is guided by
    external regulations stipulated by RACA and by internal self-regulating policies and procedures
    developed by the Board. Qatar Charity adopts a risk-based approach in all aspects of its work by
    utilizing advanced tools to manage any risks that may incur


    Qatar Charity worked with Refinitiv to develop a joint risk management system that is specifically
    adapted to the high-risk work of NGOs and that allows the organization to identify, anticipate
    and mitigate any risks that may arise before, during and after the delivery of aid.




    Indicator 1
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    FATF classification

    Indicator 3


    Fragile States Index

    Indicator 4


    Global Terrorism Index

    Indicator 5


    Conflict Risk Index




    Compliance

   Because we recognize the risk that NGOs' funds can be misused, we have added
   extra layers of protection by using advanced global systems to mitigate the risks of
   money laundering and terrorist financing in cooperation with major international
   institutions.

    In 2019, Qatar Charity became the first organization in the MENA region to sign a unique
    cooperation agreement with Refinitiv Thomson Reuters, a world leader in AML/TF screening, to
    better identify risks related to money laundering and terrorist financing.


    The cooperation comes in the form of a consolidated database of individuals and institutions
    between Qatar Charity and Thomson Reuters' World Check that will enable us to quickly and
    effectively identify and isolate individuals and institutions that can pose a potential risk of
    money laundering or terrorist financing.
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   Audit




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    One of the main objectives of audit is enhancing internal control through a
   specialized committee, department and policy. A quarterly internal audit report is
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   AAAAAAAAA
    Executive Management
    The Chief Executive Officer (CEO) manages the day to day activities of the organization with the
    support of a team of Executive Directors. The current team includes the Chief Governance Officer,
    Chief Marketing Officer, Chief Operating Officer, Chief Global Programs Officer and the Chief Local
https://www.qcharity.org/en/global/governance-structure                                                                  9/13
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    POLICIES


    Qatar Charity's external and internal work environment is underpinned by a set of policies and
    procedures that provide guidance in all pertinent matters and define a clear, ethical, and lawful
    course of action for any situation affecting directly or indirectly the work of the organization.




     Conflict of Interest Policy



     Internal Audit Policy



     External Audit Policy



     Risk Management Policy




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     Field Security and Safety Policy



     Child Protection Policy



     Safeguarding Policy




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    QC Memberships


    DGC/CSO                                               ECOSOC
     Associated                                           Consultative Status
    Organization                                              ECOSOC 1996
                                                                                            Member START
    DGC/CSO 2019
                                                                                             NETWORK 2017




                                                          Observer Member
                                                                IOM 2006
    Member CHS
    Alliance 2019



    Who we are

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